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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:01CR272
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
LATAYO RAYMOND CLARK,                       )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant’s motions to reduce sentence

(Filing No. 425) and to withdraw the motion to reduce sentence (Filing No. 432).

      IT IS ORDERED:

      1.     The Defendant’s motion to withdraw (Filing No. 432) the Defendant’s motion

             to reduce sentence is denied; and

      2.     The Defendant’s motion to reduce sentence (Filing No. 425) is denied.

      DATED this 22nd day of July, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
